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                                   STATEMENT OF FACTS

        Your affiant,                                    with the Federal Bureau of Investigation
(FBI), assigned to the Dallas Field Office North Texas Joint Terrorism Task Force. I have served
as a Special Agent with the FBI for three years. During this time, I have completed over seven
hundred and twenty hours of investigative training in areas such as legal process, counter terrorism,
domestic terrorism, cybercrimes, intelligence analysis, surveillance, interviews/interrogation,
search warrants, tactics, and firearms. I am currently assigned to a squad that is responsible for
investigating Domestic Terrorism cases. I am responsible for conducting investigations into
various threats, including racially motivated violent extremism, weapons of mass destruction
violations, and violent anti-government extremism. These investigations have involved the use of
physical surveillance, cooperating witnesses, the execution of search and arrest warrants, and the
debriefing of witnesses and subjects. Currently, I am tasked with investigating criminal activity in
and around the Capitol grounds on January 6, 2021. As a FBI Special Agent, I am authorized by
law or by a Government agency to engage in or supervise the prevention, detection, investigation,
or prosecution of a violation of Federal criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
                     Philip Anderson’s Participation in the January 6th Riot
        On January 6, 2021, an individual I have identified as PHILIP ANDERSON based on the
evidence set forth below, attended the “Stop the Steal” Rally on the National Mall. He stood amidst
the large crowd of demonstrators, watching as former President Donald Trump called on the crowd
to march to the United States Capitol to protest the results of the 2020 Presidential Election. As
President Trump spoke, demonstrators reacted by cheering and chanting. After President Trump
announced to the crowd that “we will stop the steal,” demonstrators gathered on the National Mall
cheered and chanted “Stop the Steal!” ANDERSON, with his arms raised, participated in the “Stop
the Steal” chant in reaction to President Trump’s speech (Figure 1). ANDERSON left the
demonstration at the National Mall, marched through Washington, D.C. toward the U.S. Capitol,
and participated in the breach of the U.S. Capitol.




  Figure 1: ANDERSON, circled in red, raising his arms as he chanted “Stop the Steal” while
     demonstrating on the National Mall in response to former President Trump’s speech.


      On January 6, 2021, at the time of the riot, open-source video footage captured
ANDERSON speaking into a megaphone on or near U.S. Capitol grounds (Figure 2). A large
crowd of rioters, as well as the west front of the U.S. Capitol building, is visible behind him.
ANDERSON wore a gray “TRUMP 2020: Make America Great Again” sweatshirt, blue jeans,

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and occasionally a red ball cap. In Figure 1 below, a screenshot from that open-source video,
ANDERSON, speaking into the megaphone, stated, “It’s time to go. We’re occupying the Capitol.
Let’s go!”




 Figure 2: ANDERSON, wearing gray TRUMP sweatshirt, red ball cap, and blue jeans, speaks
                                  into a megaphone.
        Several open-source photographs captured ANDERSON standing on top of a statue at the
Peace Circle, which is located on U.S. Capitol grounds at the intersection of Pennsylvania Avenue
N.W. and First Street N.W. In one photograph, ANDERSON, raising a megaphone in the air, stood
atop the statue located at the Peace Circle and spoke into the megaphone (Figure 3). In the image,
the western front of the U.S. Capitol building is visible behind ANDERSON. Several other rioters
gathered on the Peace Circle as well, carrying flags and banners (Figures 3, 4).




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Figure 3: ANDERSON, highlighted by a yellow box, speaks into a megaphone while standing on
                              a statue at the Peace Circle.




Figure 4: ANDERSON, highlighted by a yellow box, speaks into a megaphone while standing on
                              a statue at the Peace Circle.




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        ANDERSON then advanced closer to the U.S. Capitol building and scaled the northwest
staircase. The northwest staircase leads to the Upper West Terrace of the U.S. Capitol building,
closer to several doors that lead directly into the U.S. Capitol building itself. At approximately
3:02 p.m., ANDERSON appeared on CCTV at the bottom of the northwest staircase, raising his
arm in the air and appearing to cheer (Figure 5). Shortly thereafter, ANDERSON pulled up at least
two other rioters onto the bannister. ANDERSON assisted one of the rioters by lifting him/her up
by his/her backpack. ANDERSON then walked up the banister of the staircase, bypassing large
crowds of rioters who had amassed on the staircase. As ANDERSON scaled the banister even
further, he put up his hands and appeared to cheer again (Figure 6).




 Figure 5: ANDERSON, circled in red, at the northwest staircase of the U.S. Capitol Building.




     Figure 6: ANDERSON, circled in red, scaling the banister of the northwest staircase.
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        According to an open-source photograph, ANDERSON continued to scale the banister of
the staircase and received assistance from other rioters to balance himself and climb even further
up the northwest staircase, advancing closer to the Capitol building (Figure 7).




    Figure 7: ANDERSON, highlighted in a yellow box, receiving assistance as he scales the
                                  northwest staircase.
        At 3:17 p.m., CCTV footage shows that ANDERSON entered the U.S. Capitol through the
Senate Wing Door (Figure 8). The Senate Wing Door is located on the northwest quadrant of the
Capitol building and was the site of the first breach of the Capitol on January 6, 2021. CCTV
footage shows that rioters kicked down and smashed the Senate Wing Door and adjoining windows
at approximately 2:14 p.m., scattering shattered glass inside the Capitol and, according to open-
source footage with audio, causing a loud alarm to sound for several hours. As ANDERSON
entered the Senate Wing Door, CCTV footage shows that he immediately encountered several
police officers dressed in riot gear. ANDERSON lifted his left arm in the air as he used what
appears to be a cell phone with this right hand in a manner consistent with recording or taking
photographs. He remained near the doorway as shown in Figure 8. Less than a minute later, after
an officer motioned for him to leave, ANDERSON exited the Capitol building through the Senate
Wing Door.




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Figure 8: ANDERSON, circled in yellow, entering the U.S. Capitol building through the Senate
                                       Wing Door.
      According to open-source video I have reviewed, right outside the Senate Wing Door,
ANDERSON spoke through a blue megaphone to a crowd of rioters. (Figure 9). In the video,
ANDERSON stated, “This is our country. I don’t care how the mainstream media bitches, moans,
and whines. What are you going to do? Cry about it?”




Figure 9: ANDERSON, circled in yellow, speaking through a megaphone near the Senate Wing
                                          Door.
         Video footage I have reviewed shows that ANDERSON gave several other speeches on
restricted Capitol grounds on January 6, 2021. One open-source video from the Upper West

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Terrace of the Capitol building captured ANDERSON giving a short interview (Figure 10). In the
interview, ANDERSON stated:
       “Hi, I’m Philip Anderson and I want to give a warning to the world and to the entire country
       here in America. We can take back our country whenever we want. We can take back the
       Capitol building whenever we want. We can take back all of Washington, DC whenever
       we want. And the police can’t stop us. It’s true that we do back the blue, but they can’t stop
       us. We pushed right past them. We got right into--we moved the gates, broke down the
       gates, we broke right into the Capitol building. We stormed it, we took over, and we ended
       the hoax. We ended the steal. I want the whole country to know that it’s been a game this
       entire year with BLM and Antifa. They’re not a real threat, they’re just throwing a little
       temper tantrum. We’re the real power, and no one, no one can stop us. Not the military.
       Not the police. Not corrupt officials. No one. We can kick you out whenever we feel like
       it. We can take back the country whenever we feel like it. We are the people. Nothing will
       stop this. Give us justice or else this is what you’re gonna have, and this is just the warmup.
       I’m Philip Anderson, you can find me on Parler at @teamsaveamerica.”




            Figure 10: ANDERSON giving an interview on the Upper West Terrace.

          I reviewed CCTV footage depicting a crowd of rioters attempting to enter the Lower West
Terrace tunnel exterior entrance (hereinafter “tunnel”) to the U.S. Capitol on January 6, 2021. The
activity depicted took place inside an exterior security perimeter established and manned by USCP
that day and, thus, was within the restricted grounds of the U.S. Capitol building. The video
footage depicts rioters pushing against law enforcement officers, who formed a police line in front
of the tunnel, for several hours. Law enforcement officers were guarding an entrance into the
Capitol building, which was located at the end of the tunnel, until additional law enforcement
officers arrived and forced the crowd away from the entrance and out of the tunnel.




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        I identified ANDERSON as one of the rioters who participated in the push against the line
of police officers in the tunnel. Open-source video showed ANDERSON near the tunnel amid a
large mob, egging on other rioters by waiving them in the direction of the tunnel (Figure 11).




 Figure 11: ANDERSON, circled in red, egging on rioters near the Lower West Terrace tunnel.
         ANDERSON is then seen on open-source video nearing the entrance to the tunnel (Figure
12). In the video, ANDERSON braced his back against other rioters, pushing against them in what
appears to be an attempt to drive the crowd further into the tunnel. ANDERSON also pushed
toward the entrance to the tunnel in unison alongside the mob, known as a “heave-ho.” Members
of the mob, including ANDERSON, participated in several “heave-ho’s” to advance further into
the tunnel and breach the line of law enforcement positioned inside the tunnel, protecting the
doorway and entrance to the U.S. Capitol building.




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 Figure 12: ANDERSON, circled in red, pushing alongside the mob to advance further into the
                                         tunnel.
       At approximately 4:16:30 p.m., ANDERSON, captured on CCTV, waved rioters forward
toward the tunnel’s entrance again (Figure 13). Open-source video corroborates this incident
(Figure 14). The open-source video showed a chaotic scene, with rioters screaming, hurling objects
(such as crutches) toward the police line, and waving flags.




   Figure 13: CCTV footage of ANDERSON, circled in red, waving rioters toward the tunnel.



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Figure 14: Open-source video of ANDERSON, circled in red, waving rioters toward the tunnel.
       Shortly thereafter, at approximately 4:16:50 p.m., ANDERSON, captured on CCTV,
waved his arm toward himself, again encouraging rioters to advance further into the tunnel (Figure
15). Open-source video showed a chaotic scene as rioters continued to violently push forward in
unison against the police line at the end of the tunnel.




   Figure 15: CCTV footage of ANDERSON, circled in red, waving rioters toward the tunnel.
        CCTV footage shows that at approximately 4:19 p.m., ANDERSON pushed other rioters
in front of him aside to get in front of them, edging his way closer to the police line and the entrance

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to the U.S. Capitol building (Figure 16). Seconds later, ANDERSON advanced even further into
the tunnel, pushing in unison with the mob against the police line (Figure 17).




       Figure 16: CCTV of ANDERSON, circled in red, advancing further into the tunnel.




       Figure 17: CCTV of ANDERSON, circled in red, advancing further into the tunnel.
        Shortly thereafter, as seen on CCTV, several rioters put their heads down as a wave of a
gas-like substance appeared in the camera’s view. Simultaneously, law enforcement began to push
the riotous mob toward the mouth of the tunnel, and sight of ANDERSON is lost. As law


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enforcement attempted to clear the tunnel of the violent mob, ANDERSON had fallen to the
ground, and ANDERSON’s fellow rioters assisted him off the ground (Figure 18).




  Figure 18: Rioters assisting ANDERSON off the ground after law enforcement attempted to
                                 clear the tunnel of the mob.
        After ANDERSON’s participation in the heave-ho at against the police line at the Lower
West Terrace tunnel, he gave numerous speeches to groups of rioters on U.S. Capitol grounds,
using a microphone to amplify his words and draw crowds. I have reviewed video of some of these
speeches, in which ANDERSON makes comments similar to those described above. In one, he
added, “We’re here because we had enough. . . . It’s clear that you want to fight. . . . Let’s fucking
go tonight!” In another, he said, “I’m fighting against the stolen election.” In yet another, he told
the crowd, “I’m ready to die tonight. . . . For four years straight we haven’t rushed the Capitol, we
haven’t vandalized nothing, we haven’t beat no one up. But you pissed us the fuck off.”
                                 Identification of Philip Anderson
       On January 10, 2021, FBI’s Washington Field Office (“WFO”) received a tip from the
Metropolitan Police Department Text Tip line containing a link to a TikTok video depicting
ANDERSON at the U.S. Capitol. In the video, ANDERSON stated, in part, “My name is Philip
Anderson, and I am fighting to save this country. I'm fighting against big tech, I'm fighting against
corruption, I'm fighting against a stolen election.”

       I have compared an open-source jail booking photo of ANDERSON from Smith County,
Texas (Figure 19) with footage from the U.S. Capitol and grounds, and based on my review of the
footage I believe they are the same person.




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                  Figure 19: Smith County, Texas booking photograph of ANDERSON.


         The FBI also uncovered an open-source video with audio in which someone who sounds
like the same person speaking into a microphone in the videos referenced above says, “The very
next day after Antifa knocked out my teeth, they banned me on Facebook, they banned me on
Instagram, they banned me on Twitter, but guess what? They can't stop us from showing up. I was
just in that Capitol...after I got out of that Capitol building, guess what? I gave a speech[.]” These
statements appeared consistent with a description of ANDERSON, as photos obtained by FBI
Dallas that revealed ANDERSON lost two front teeth after an encounter with another individual
on October 17, 2020, according to a KTLA5 news article (Figure 20).




 Figure 20: Screenshot of a KTLA5 news depicting a man identified as ANDERSON (who also
           matches ANDERSON’s appearance) in white shirt, holding microphone.

       On April 30, 2021, the FBI interviewed ANDERSON at his residence located at
                                     . During the interview, ANDERSON confirmed traveling to
Washington D.C. for the Stop the Steal Rally. ANDERSON indicated that he had attempted to
gain access to the U.S. Capitol, but claimed he became trapped in the crowd that was shoving
towards the entrance. ANDERSON eventually became stuck on the bottom of a pile, to ultimately

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be dragged out by members of the crowd. I was present at this interview and concluded, based on
visual comparison, that ANDERSON is the individual depicted in the images and video footage
from January 6, 2021.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
PHILIP ANDERSON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
        Your affiant submits there is also probable cause to believe that PHILIP ANDERSON
violated 40 U.S.C. § 5104(e)(2)(D), which makes it a crime to willfully and knowingly utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress.
        Your affiant submits there is probable cause to believe that PHILIP ANDERSON violated
18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.
        Finally, your affiant submits there is probable cause to believe that PHILIP ANDERSON
violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede
any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings
are official proceedings.




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Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this   28    day of August 2023.
                                                                           Digitally signed by Zia M.

                                                      Zia M. Faruqui       Faruqui
                                                                           Date: 2023.08.28 16:19:10
                                                                           -04'00'
                                                    ___________________________________
                                                    U.S. MAGISTRATE JUDGE




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